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. \RECE\VED                 UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF MISSOURI
  Mf\R ... 5 2.0\9
                                                        DIVISION
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  . Distnct oi 1111                                                                           \
Ea¥:mrco TAYLOR                                    )
                                                    )         Complaint for a Civil Case
                                                   ~ ;TurMcad01('.L 1NF'L1cnoN aF fu1TioNAL
                                                   )               DIStR~ ) fxTaR..f lo~
                                                   )
  (Write the full name of each plaintiff                       Case No.
                                                   )
  who is filing this complaint. If the                         (to be assigned by Clerk of
                                                   )
  names of all the plaintiffs cannot fit in                    District Court)
                                                   )
  the space above, please write "see
                                                   )
  attached" in the space and attach an
                                                   )            Plaintiff requests trial by jury:
  additional page with the full list of
                                                   )
  names.)
                                                   )               ~Yes     0No
  v.                                               )
  LEADEC CORP,                                     )
  MEGAN GLOWACKI                                   )
                                                   )
                                                   )
                                                   )
                                                   )
  (Write the full name of each defendant.
                                                   )
  The caption must include the names of
                                                   )
  all of the parties. Fed. R. Civ. P. 1O(a).
                                                   )
  Merely listing one party and writing "et
                                                   )
  al." is insufficient. Attach additional
                                                   )
  sheets if necessary.)



                                       CIVIL COMPLAINT

                                               NOTICE:

  Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
  public access to electronic court files. Under this rule, papers filed with the court should not
  contain: an individual's full social security number or fit!! birth date, the fit!! name of a person
  known to be a minor, or a complete financial account number. A filing may include only: the last
  four digits of a social security number, the year of an individual's birth, a minor's initials, and the
  last four digits of a financial account number.

  Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness
  statements, or any other materials to the Clerk's Office with this complaint.

  In order for your complaint to be filed, it must be accompanied by the $400.00 filing fee or an
  application to proceed without prepaying fees or costs.
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I.      The Parties to This Complaint

        A.     The Plaintiff(s)
        Provide the information below for each plaintiff named in the complaint. Attach
        additional pages if needed.

               Name                  ENRICO TAYLOR
               Street Address        8205 MIDWOOD AVE
               City and County       BERKELY

               State and Zip Code    MISSOURI, 63134

               Telephone Number      323-713-5101
               E-mail Address        ENRICO@IDISCOVERSTARS.TV




        B.     The Defendant(s)

        Provide the information below for each defendant named in the complaint, whether the
        defendant is an individual, a government agency, an organization, or a corporation. For
        an individual defendant, include the person's job or title (if known). Attach additional
        pages if needed.



        Defendant No. 1

               Name                  LEADEC CORPORATION
               Job or Title
               Street Address        9395 KENWOOD ROAD

               City and County       CINCINNATI
               State and Zip Code    OHIO, 45242
               Telephone Number      513-731-3590
               E-mail Address        Sydney.Wiskirchen@leadec-services.com



               (If more than one defendant is rfl,amed in the complaint, attach an additional
               page providing the same information for each additional defendant. If you are
               suing for violation of your civil rights, you must state whether you are suing
               each defendant in an official capacity, individual capacity, or both.)




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II.      Basis for Jurisdiction

         Federal courts are courts of limited jurisdiction (limited power). Generally, only three
         types of cases can be heard in federal court. Provide the information for this case.
         (Include all information that applies to your case)


         A.      Federal question
         List the specific federal statutes, federal treaties, and/or provisions of the United States
         Constitution that are at issue in this case.




         B.      Suit against the Federal Government, a federal official, or federal agency
         List the federal officials or federal agencies involved, if any.




         C.      Diversity of Citizenship
         These are cases in which a citizen of one State sues a citizen of another State or nation,
         and the amount at stake is more than $75,000. In a diversity of citizenship case, no
         defendant may be a citizen of the same State as any plaintiff.


                 1.     The Plaintiff(s)

                         The plaintiff, (name)           ENRICO TAYLOR
                                                 ~~~~~~~~~~~~~
                                                                                   , is a citizen of the
                         State of (name)                      MISSOURI


                         (If more than one plaintiff is named in the complaint, attach an additional
                         page providing the same information for each additional plaintiff.)




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         2.     The Defendant(s)

         If the defendant is an individual


                The defendant, (name)                                               , is a citizen
                                         ~~~~~~~~~~~~~~




                of the State of (name)   ~~~~~~~~~~~~~-
                                                                                  Or is a citizen

                of (foreign nation)   ~~~~~~~~~~~~~~~~~~~-




         If the defendant is a corporation

                The defendant, (name)               LEADEC CORPORATION
                                         ~~~~~~~~~~~~~~~~~~




                is incorporated under the laws of the State of (name)

                ~~~~~~~~~~~~~~~~
                                 DELAWARE                     , and has its principal place of

                business in the State of (name)   ~~~~~~~~~~~~~~
                                                                  OHIO                        Or

                is incorporated under the laws of the State of (foreign nation)


                ~~~~~~~~~~~~~~~~-
                                                                 , and has its principal place

                of business in (name)    ~~~~~~~~~~~~~~~~~~




                (If more than one defendant is named in the complaint, attach an
                additional page providing the same information for each additional
                defendant.)

         3.     The Amount in Controversy

         The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
         owes or the amount at stake----is more than $75,000, not counting interest and
         costs of court, because (explain):
          CONTROVERSY IS MORE THAN $75,000 BECAUSE THE
         DEFENDANTS NOT ONLY WRONGFULLY TARGETED AND
         TERMINATED THE PLAINTIFF'S MOTHER BASED UPON HER FMLA
         PROTECTED STAT, BUT ALSO EXTORTIONARILLY THREATENED
         THE PLAINTIFF DURING PRE-LITIGATION CAUSING IIED.




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III.   Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

       1.       What happened to you?
       2.       When did it happen?
       3.       Where did it happen?
       4.       What injuries did you suffer?
       5.       What did each defendant personally do, or fail to do, to harm you?
1. THE DEFENDANTS WRONGFULLY TARGETED AND TERMINATED THE
PLAINTIFF'S MOTHER WHO WAS INTENTIONALLY WITHHELD INFORMATION
ABOUT HER FMLA HOURS BY HR HEAD, CHERYL HERTFELDER, WHICH
STOPPED HER INSURANCE AND CAUSED THE PLAINTIFF ECONOMIC AND
EMOTIONAL DISTRESS BY HAVING TO PAY FOR THE PLAINTIFF'S
MOTHER'S LIVING EXPENSES. THIS BEHAVIOR WAS EXTREME &OUTRAGEOUS.

WHEN THE PLAINTIFF INFORMED THE DEFENDANTS OF THE WRONGFUL
TERMINATION AND ALSO DISCLOSED THAT THE PLAINTIFF'S MOTHER WAS
SUFFERING FROM A LIFE THREATENING BLOODCLOT AND COULD NOT
AFFORD MEDICATION DUE TO SUDDEN LOSS OF INSURANCE, THE
DEFENDANTS VIA THEIR ATTORNEY,CO-DEFENDANT MEGAN GLOWACKI,
THREATENED TO CALL THE POLICE ON THE PLAINTIFF FOR EXERCIZING
HIS CONSTITUTIONALLY PROTECTED RIGHTS TO PRE-LITIGATE AND HOLD
CORPORATE OFFICERS RESPONSIBLE VIA THE RESPONSIBLE CORPORATE
OFFICER DOCTRINE. THE PLAINTIFF EXPERTS FOR DEPRESSION CAUSED.

THE EXTORTION WORKED AS THE PLAINTIFF, AS AN AFICAN AMERICAN
MAN, FEARED THE POLICE BEING FALSELY CALLED ON HIM DURING
PRE-LITIGATION AND THEREFORE THE DEFENDANTS WERE ABLE TO STOP
THE PLAINTIFF FROM HOLDING ANY OTHER CORPORATE OFFICER
RESPONSIBLE FOR THE POTENTIAL DEATH OF HIS MOTHER CAUSING THE
PLAINTIFF GREAT FEAR, ANGUISH AND EVEN MORE EMOTIONAL DISTRESS.



IV.    Relief

       State briefly and precisely what damages or other relief you want from the Court. Do
       not make legal arguments.
       THE PLAINTIFF IS REQUESTING $1,000,000 IN DAMAGES FROM THE
       DEFENDANTS VIA THE COURT FOR INTENTIONALLY INFLICTING
       EMOTIONAL DISTRESS ON THE PLAINTIFF WHO FOUGHT TO SAVE HIS
       MOTHER'S LIFE THAT WAS WRONGFULLY TERMINATED BY A WOMAN
       FAMILIAR WITH MO EAST DISTRICT COURT CASE 4:07CV01494.

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          Do you claim the wrongs alleged in your complaint are continuing to occur now?

                                           Yes   lg}   No    D
                 Do you claim actual damages for the acts alleged in your complaint?
                                           Yes   (g]   No    D
                            Do you claim punitive monetary damages?

                                           Yes         No    D
 If you indicated that you claim actual damages or punitive monetary damages, state the
 amounts claimed and the reasons you claim you are entitled to recover these damages.
        THE ACTUAL DAMAGES ARE APPROXIMATELY $3,000 HOWEVER THE
        PUNITIVE DAMAGES ARE $997,000.00 DUE TO THE EMOTIONAL
        DISTRESS CAUSED BY THE PLAINTIFF NOT KNOWING IF HIS MOTHER
        WOULD DIE DUE TO THE ILLEGAL AND DISCRIMINATORY ACTIONS OF
        THE DEFENDANT PLUS THE ANTI-SLAPP MEASURES USED FOR FEAR.



V.      Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
        knowledge, information, and belief that this complaint: ( 1) is not being presented for an
        improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
        cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
        extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support
        after a reasonable opportunity for further investigation or discovery; and (4) the
        complaint otherwise complies with the requirements of Rule 11.

        I agree to provide the Clerk's Office with any changes to my address where case-related
        papers may be served. I understand that my failure to keep a current address on file with
        the Clerk's Office may result in the dismissal of my case.




         I declare under penalty of perjury that the foregoing is true and correct.




                              Signed this ~..PH        day of ====MA::::::::R::::C::::H:::::::==' 20 ---1:2_.



                               Signature of   Plaintiff(s~~ .L:


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                    STATEMENT OF FACTS      continued

2. THIS HAPPENED TO THE PLAINTIFF BETWEEN DECEMBER 3, 2018 -
CURRENT. THOUGH LEADEC HAS _SINCE ADMITTED THAT THE PLAINTIFF'S
MOTHER WAS WRONGFULLY TERMINATED THIS ONLY HAPPENED AFTER 2
THINGS.

   A) FOLLOWING THE FACT THAT THE PLAINTIFF SHOWED THE
DEFENDANT'S THE CASE NUMBER WERE CHERYL HERTFELDER, WAS ALREADY
ACCUSED OF DISCRIMINATING AGAINST A MAN WITH HEALTH ISSUES OVER
A DECADE AGO.
   B) AFTER THE PLAINTIFF MADE THE DEFENDANTS AWARE THAT HE WAS
COMPLETELY AWARE THAT TBE ACTIONS OF THE ATTORNEY, CO-DEFENDANT
MEGAN GLOWACKI, WAS NOT ONLY EXTORTIONATE IN NATURE BUT AN
ANTI-SLAPP ACTION INTENDED TO SCARE THE PLAINTIFF FROM HOLDING
CORPORATE OFFICERS ACCOUNTABLE FOR WHAT THE PLAINTIFF ASSUMED
WOULD RESULT IN THE DEATH OF HIS MOTHER.

3.  THE INJURY HAPPENED IN MISSOURI AND PERSISTED TO PRESENT
DATE VIA THE HR HEAD CHERYL HERTFELDER'S RETALIATORY ACTIONS
THAT FOLLOWED THE REINSTATEMENT OF THE PLAINTIFF'S MOTHER.

4. THE INJURIES THAT THE PLAINTIFF SUFFERED WERE BOTH
ECONOMICAL WITH THE PLAINTIFf HAVING TO TAKE CARE OF HIS
MOTHER'S LIVING EXPENSES DURING THE WRONGFUL TERMINATION PERIOD
AS WELL AS WAKE UP DAILY IN FEAR THAT HIS MOTHER WOULD DIE WITH
THE BLOD CLOT MEDICATION BEING UNAFFORDABLE WITHOUT INSURANCE.
THE PLAINTIFF FELL BEHIND ON HIS BILLS, MAXED OUT HIS CREDIT
CARDS, AND OVERDRAFTED HIS BANK ACCOUNT TO HELP HIS MOTHER
CAUSING A PLUMMET IN HIS CREDIT SCORE AND SANITY.

5. LEADEC CORPORATION WRONGFULLY TERMINATED THE PLAINTIFF'S
MOTHER AND KEPT THE HR HEAD CHERYL HERTFELDER EMPLOYED EVEN
WITH ALL OF THE EVIDENCE OF DISCRIMINATION BROUGHT AGAINST HER.
LEADEC CONTINUES TO ALLOW CHERYL TO DISCRIMINATE AND THE COURTS
SHOULD CONSIDER VOIDING THE ARBRITION AGREEMENTS THAT LEADEC
HAS WITH IT'S WORKERS AT THE WENTZVILLE'S BRANCH IN LIGHT OF
LEADEC WILLINGLY ALLOWING CHERYL TO VIOLATE FEDERAL LAW. THE
PLAINTIFF GUARANTEES THAT THE EMPLOYEES WOULD FILE A CLASS
ACTION IMMEDIATELY AS CHERYL HAS BRAGGED THAT THE ARBRITATION
AGREEMENT PROTECTS HER FROM ACCOUNTABILITY.

THE CO-DEFENDANT MEGAN GLOWACKI ILLEGALLY AND EXTORTIONARILLY
THREATENED THE PLAINTIFF BY THREATENING TO CALL LAW ENFORCEMENT
ON HIM. THIS SHOCKING BEHAVIOR LEFT THE PLAINTIFF WONDERING IF
THE CO-DEFENDANT SHOULD KEEP HER BAR OR HAVE IT REVOKED. THE
PLAINTIFF IS ASKING THE COURTS TO REVIEW THE EMAIL & DETERMINE.
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                   AMOUNT IN CONTROVERSY continued

   THE DEFENDANT WAS GIVEN MANY OPPORTUNITIES BY THE PLAINTIFF
TO SETTLE THE MATTER OUT OF COURT. INSTEAD THE DEFENDANTS OPTED
TO WAIT UNTIL THE PLAINTIFF ACTUALLY FILED THE CURRENT LAWSUIT
TO TAKE THE MATTERS SERIOUSLY.

   BEFORE THE COURT rs THE ISSUE AS TO WHY THE HR HEAD CHERYL
HERTFELDER WHO HAS A HISTORY THAT THE DEFENDANTS ARE NOW AWARE
OF, OF TARGETING PEOPLE BASED UPON THEIR HEALTH ISSUES IS STILL
EMPLOYED AND BREAKING FEDERAL LAW. IT IS THE PLAINTIFF'S BELIEF
THAT LEADEC CORP SHOULD BE FINED THE MAXIMUM AMOUNT AVAILABLE
TO LAW WHEN IT IS DETERMINED THAT THE MAIN TARGETS OF WRONGFUL
TERMINATION BY CHERYL ARE BOTH MINORITIES AND HAVE FMLA OR
PROTECTED BY THE ADA.

  FEDERAL LAW rs A SERIOUS MATTER AND THE PLAINTIFF rs AWARE OF
2 PEOPLE WHO HAVE DIED DURING WRONGFUL TERMINATION PROCESS WHO
DEPENDED UPON THE COMPANY FOR INSURANCE AND DIED WHILE WAITING
ON GRIEVANCES. THE PLAINTIFF rs LUCKY HE KNOWS LAW OR HIS
MOTHER COULD HAVE DIED AS WELL.



                      SECOND DEFENDANT continued

   THE DEFENDANT, MEGAN GLOWACKI,        rs   A CITIZEN OF OHIO.
MGGA.N, GLoW4ct( J: c..)11-IOl'\.1 PSa{IJ Ht:N ~, Co/11\
5l~ WAL-N~.:r STREef1 l£/1'H Rao£. CsNatJf\/AT:rl Of(Io          'f.CSJ.. Pr)
                      RELIEF FROM COURT continued                         ~

THE PLAINTIFF WOULD LIKE THE COURT TO REVIEW AND VOID THE
FORCED ARBRITATION AGREEMENTS THE DEFENDANT LEADEC HAS BETWEEN
IT'S EMPLOYEES. THE PLAINTIFF FEELS THE ONLY WAY THE DEFENDANT
LEADEC WILL LEARN THAT TARGETING EMPLOYEES WITH MEDICAL HEALTH
ISSUES IS BOTH UNETHICAL AND ILLEGAL, ( THERE ARE MULTIPLE
FEDERAL SUITS OUT AGAINST THE DEFENDANTS' ALLEGED VIOLATION OF
ADA AND FLMA)  IS TO REMOVE THIS PROTECTION WHICH FORCES
MEDIATION WITH LIMITS TO RECOVERY. THROW THE BOOK AT THEM AND
FINE THEM AND USE THE FINES TO BENEFIT THE LOCAL SCHOOLS AND
GOVERNMENT. THESE ACTIONS MUST BE HELD ACCOUNTABLE BEFORE MORE
VICTIMS DIE.
